Case 2:13-cr-14029-JEM Document 58 Entered on FLSD Docket 08/22/2013 Page 1 of 1
                           UN ITED STA TES D ISTRICT CO U RT
                           SOU TH ERN DISTRICT O F FLO RIDA
                         CA SE N O .13-14029-CR-M A RTlN EZ/LYN CH

 UN ITED STATES OF A M ERICA

        Plaintiff,
 VS.

 AN TO IN E ELIE SPA RK S,

        Defendant.
                              /

        O R DER A D O PTIN G M A G IST R ATE'S R EPO R T A ND R EC O M M EN D AT IO N

        THIS CAUSE cam ebefore the Courtupon the OrderofReferencefrom theDistrict
 Courtto conducta Change ofPlea before a M agistrate Judge.
        TH E M A TTER wasreferred to M agistrate Judge Frarlk J.Lynch Jr,on July 26,2013.

 ReportandRecommendationwastiledonJuly31,2013,(D.E.#48),recommendingthatthe
 D efendant'splea ofguilty be accepted.The D efendantand the G overnm entw ere afforded the

 opportunitytotileobjectionstotheReportandRecommendation,howevernonewerefiled.The
 Courthasconducted ade novo review oftheentirefile.Accordingly,itis
        ORDERED AND ADJUDG ED that
        The Reportand Recom mendation ofUnited StatesM agistrateJudgeFrank J.Lynch Jr,is
 hereby A dopted and A pproved in itsentirety.
        TheDefendantisadjudgedguiltytoCountTllreeandFourofthelndictment,which
 chargesthe Defendantin CountThreewith possessing afirearm in furtheranceofadrug
 traffickingcrime,inviolation ofTitle 18,UnitedStatesCode,Section924(c)(1)(A)(ii),andin
 CountFourwith conspiracy to m anufactureand possesswith intentto distributea controlled
 substance-looormoreplantsofmarijuana,inviolationofTitle21,UnitesStatesCode,Sections
 846,841(a)(1)and(b)(1)(B).
        DONE AND ORDERED in Cham bersatM iami,Florida,thiszW day ofAugust,2013.

                                                              47
                                                 JO SE .M ARTINEZ
                                                 UN IT   STATES D1S      lCT JU D G E


 Copied:H on.M agistrate Lynch
 A11CounselOfRecord
 U .S.Probation O ffice
